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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA



IN RE: GRANULATED SUGAR                 MDL No. 24-3110 (JWB/DTS)
ANTITRUST LITIGATION


This Document Relates To:

ALL ACTIONS


                        STATEMENT OF INTEREST OF
                      THE UNITED STATES OF AMERICA

JOSEPH H. THOMPSON                      ABIGAIL A. SLATER
Acting United States Attorney           Assistant Attorney General

LILES H. REPP                           ROGER P. ALFORD
Attorney ID No. 0400692                 Principal Deputy Assistant Attorney
Assistant United States Attorney        General
600 U.S. Courthouse
300 South Fourth Street                 MARK H. HAMER
Minneapolis, MN 55415                   Deputy Assistant Attorney General
Phone: (612) 664-5600
Fax: (612) 664-5788                     DAVID B. LAWRENCE
Email: Liles.Repp@usdoj.gov             Policy Director

                                        DANIEL E. HAAR
                                        NICKOLAI G. LEVIN
                                        PETER M. BOZZO
                                        Attorneys

                                        United States Department of Justice
                                        Antitrust Division
                                        950 Pennsylvania Avenue, NW
                                        Washington, DC 20530-0001
                                        Phone: (202) 803-1196
                                        Email: peter.bozzo@usdoj.gov
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                        INTEREST OF THE UNITED STATES

       The United States submits this Statement of Interest under the authority of 28

U.S.C. § 517, which permits the Attorney General to direct any officer of the Department

of Justice to attend to the interests of the United States in any case pending in a federal or

state court.

       The United States enforces the federal antitrust laws and has a strong interest in

their correct application. In this case, Plaintiffs allege that competing sugar producers

and cooperatives violated Section 1 of the Sherman Act, 15 U.S.C. § 1, by agreeing to

share competitively sensitive information with each other. As the Supreme Court has

recognized for over a century, information exchanges can distort the competitive process.

E.g., Am. Column & Lumber Co. v. United States, 257 U.S. 377, 409-10 (1921). They

can, for example, encourage collusion among firms that should be rivals. They can

insulate prices from market forces, causing those prices to stabilize at uniform levels.

And they can exacerbate informational advantages held by firms over their suppliers,

customers, or competitors.

       These anticompetitive effects can come to fruition regardless of whether the

parties share information directly with one another, through third parties, or both.

Accordingly, the United States has brought challenges to information exchanges

facilitated by intermediaries. See Am. Compl. ¶¶ 260-69, United States v. RealPage,

Inc., No. 1:24-cv-00710 (M.D.N.C. Jan. 7, 2024), ECF No. 47; Second Am. Compl.

¶¶ 163, 165, 167, United States v. Agri Stats, Inc., No. 0:23-cv-3009 (D. Minn. Nov. 15,

2023), ECF No. 50. The United States has also filed amicus briefs and statements of

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interest in cases involving intermediary-coordinated information exchanges that were

alleged to be either standalone Section 1 violations or tools to facilitate price-fixing

agreements. E.g., Br. for the United States as Amicus Curiae in Supp. of Pls.-Appellants,

Gibson v. Cendyn Grp., LLC, No. 24-3576 (9th Cir. Oct. 24, 2024); Statement of Interest,

In re Pork Antitrust Litig., No. 0:18-cv-01776 (D. Minn. Oct. 1, 2024), Dkt. 28.1; Mem.

of Law in Supp. of Statement of Interest of the United States, In re: RealPage, Inc.,

Rental Software Antitrust Litig. (No. II), No. 3:23-md-03071 (M.D. Tenn. Nov. 15,

2023), ECF No. 628.

       The United States files this Statement because Defendants’ motion to dismiss

could be read to heighten the pleading bar for Section 1 information-exchange claims

when the exchanges occur through or are orchestrated by go-betweens instead of directly

between competitors. We ask the Court to reject such a heightened pleading standard to

avoid creating a Section 1 loophole for information exchanges conducted through

intermediaries, potentially permitting such exchanges to evade Section 1 scrutiny despite

their potential for significant anticompetitive effects. We take no position on

Defendants’ other arguments.

                                STATEMENT OF FACTS

       Plaintiffs, direct and indirect purchasers of granulated sugar, allege that sugar

producers and sellers (“Producer Defendants”) agreed to share competitively sensitive

information with one another. Master Consolidated Compl. (“Compl.”) ¶¶ 3, 14-

16, Doc. 332. Plaintiffs claim that this agreement was both an independent violation of



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Section 1 and a mechanism for implementing a separate violation of Section 1—an

agreement to fix granulated sugar prices. Id. ¶¶ 3, 232-33, 239-41.

       Plaintiffs allege that the information-sharing arrangement took the form of “a

‘give to get’ scheme,” in which the Producer Defendants “gave one another mutual,

reciprocal assurances that they would provide competitively sensitive information” to a

third party (Commodity Information, Inc.) “so long as their competitors also did so.”

Compl. ¶ 6. Specifically, Plaintiffs claim that Commodity “acted as a clearinghouse,

collecting detailed, sensitive non-public information from the Producer Defendants[] and

rapidly redistributing it”—in non-anonymized form—“to other Producer Defendants.”

Id. ¶ 66; see id. ¶ 70. This was allegedly Commodity’s sole function: The firm

purportedly was not a “legitimate industry analyst[,]” “did not gather information through

voluntary surveys or periodic polling that it anonymized,” “did not advertise its services

to the public,” “did not maintain a website,” “did not publish publicly available reports,”

and did not otherwise make “reports available to purchasers of [g]ranulated [s]ugar.” Id.

¶¶ 36, 67-69.

       The complaint provides examples of specific exchanges, including multiple

instances in which Commodity (acting through its principal, Richard Wistisen, see

Compl. ¶ 37) allegedly sent confidential information from one sugar company to another:

          • In September 2020, Wistisen “asked, within minutes,” employees of two

                competing Producer Defendants (United and ASR/Domino) for “pricing”

                information. Id. ¶ 95; see id. ¶¶ 1, 231. After both firms sent their prices,



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              “Wistisen provided United and ASR/Domino with the information from

              each other in emails less than a minute apart.” Id. ¶ 97.

           • A few months later, Wistisen again asked both firms, within an hour, for

              pricing information. Id. ¶ 99. United provided its current pricing but said

              that it would “probably go higher given [its] strong sold position” (i.e., the

              amount of sugar no longer available for purchase, see id. ¶ 5 n.3);

              ASR/Domino also provided information about its pricing and inventory.

              Id. ¶¶ 99-100. The next day, Wistisen sent United’s information to

              ASR/Domino and vice versa. Id.

           • In still other cases, Wistisen told ASR/Domino, based on a “[l]ong

              conversation with United,” that United’s pricing “plan” was “to hold steady

              at $36.50 and $38.50,” id. ¶ 102; see id. ¶ 104; told ASR/Domino that he

              had “[j]ust talked with United: prices unchanged,” id. ¶ 110; and informed

              ASR/Domino, based on “the word from United”—“direct from them this

              morning”—of the latter’s sold position and pricing, id. ¶ 116.

The complaint alleges that United and ASR/Domino knew that, once their information

was provided to Wistisen, it would be shared with competitors. Id. ¶¶ 78, 80, 88.

       Plaintiffs also claim that these information exchanges had anticompetitive effects.

With inside knowledge of their rivals’ prices, the Producer Defendants allegedly were

able “to hold[] prices firm in parallel” at certain times and to “increase[] their prices in

parallel” at others—rather than competing on price. Compl. ¶ 153; see id. ¶¶ 150, 154-

56, 159. For example, according to Plaintiffs, United executives “affirmatively used
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[Wistisen] to signal competitors” that the firm “was contemplating increasing its prices,”

id. ¶ 120—a means of assuring other sugar companies that they could keep prices

elevated, too, see id. ¶¶ 163-64. Moreover, obtaining information about sold positions

enabled the Producer Defendants to learn when their competitors were “nearing full

capacity”—at which point the Producer Defendants “could confidently raise prices

without fear of being undercut by their ostensible rivals.” Id. ¶ 66.

       Defendants have moved to dismiss, arguing that Plaintiffs’ Section 1 claims fail

because, among other reasons, the complaint purportedly does not plead concerted action.

Joint Mot. to Dismiss (“Mot.”) at 11-33, Doc. 398. In support of this contention,

Defendants claim that the complaint lacks allegations of “parallel conduct” and “plus

factors,” which Defendants define as “‘economic actions and outcomes that are largely

inconsistent with unilateral conduct’ or ‘largely consistent with explicitly coordinated

conduct.’” Id. at 18-22 (citation omitted). Defendants point to, among other things, the

absence of allegations about any “interfirm communication[s]” between the Producer

Defendants. Id. at 23.

                                      ARGUMENT

       “The Sherman Act was intended to secure equality of opportunity[] and to protect

the public against . . . those abnormal contracts and combinations which tend directly to

suppress the conflict for advantage called competition.” United States v. Am. Linseed Oil

Co., 262 U.S. 371, 388 (1923). Information exchanges violate the statute when they

“destroy the kind of competition to which the public has long looked for protection.” Id.

at 390. As the Supreme Court has recognized, information exchanges—even absent a

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“specific agreement” to “fix prices”—can promote a “tacit understanding” among rivals.

Am. Column & Lumber Co. v. United States, 257 U.S. 377, 411 (1921). For example, if

firms use their “[k]nowledge of a competitor’s price” to “match[] that price,” the result

will be “price uniformity,” United States v. Container Corp. of Am., 393 U.S. 333, 336-

37 (1969), or “market stabilization,” Todd v. Exxon Corp., 275 F.3d 191, 214 (2d Cir.

2001) (Sotomayor, J.)—rather than prices set by “the play of the contending forces” of

market competition, Am. Linseed, 262 U.S. at 388. And, by equipping firms “[w]ith

intimate knowledge” of their rivals’ “affairs,” information exchanges may enable

businesses to exploit “widely separate and unorganized customers necessarily ignorant”

of the data that the firms have exchanged. Id. at 389-90.

       Just as price fixing among competitors is inherently anticompetitive regardless of

the precise “machinery employed” to set prices, United States v. Socony-Vacuum Oil Co.,

310 U.S. 150, 223 (1940), information exchanges may pose anticompetitive risks

regardless of the form of the exchange. The Supreme Court has condemned agreements

to share information directly between firms, see Container Corp., 393 U.S. at 335-38,

just as it has condemned information-sharing agreements facilitated by intermediaries,

see Am. Linseed, 262 U.S. at 380-86, 389-90; Am. Column, 257 U.S. at 391, 394-97, 409-

12. Indeed, the Court has warned of the special dangers posed by the joint use of

intermediaries, which permits a “single” centralized entity “to insistently recommend

harmony of action,” Am. Column, 257 U.S. at 411, and to “insure” the information

exchangers’ “obedience” to the scheme, Am. Linseed, 262 U.S. at 389. It is thus

important that courts apply the same scrutiny under Section 1 to information exchanges

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conducted through an intermediary as to information exchanges directly among

competitors.

         THE COMPLAINT PLEADS CONCERTED ACTION FOR THE
             STANDALONE INFORMATION-SHARING CLAIM

       Section 1 bars every “contract,” “combination,” or “conspiracy[] in restraint of

trade.” 15 U.S.C. § 1. There are two primary elements for a Section 1 claim:

(1) “concerted action” (i.e., a contract, combination, or conspiracy) that (2) unreasonably

“restrains trade.” Am. Needle, Inc. v. Nat’l Football League, 560 U.S. 183, 190 (2010);

see ES Dev., Inc. v. RWM Enters., Inc., 939 F.2d 547, 553, 556 (8th Cir. 1991).

“Restraints can be unreasonable in one of two ways.” Ohio v. Am. Express Co., 585 U.S.

529, 540 (2018). Some restraints are “unreasonable per se,” id., based on their inherently

anticompetitive “nature and character,” Standard Oil Co. v. United States, 221 U.S. 1, 64-

65 (1911). Other restraints are unreasonable under the rule of reason, “a fact-specific

assessment” of “‘the restraint’s actual effect’ on competition.” Am. Express, 585 U.S. at

541 (cleaned up).

       Plaintiffs here bring two Section 1 claims—one based on Defendants’ alleged

information-sharing agreement, one asserting that the information sharing can be used to

infer a price-fixing agreement that itself violated Section 1. Compl. ¶¶ 64-65, 232-34,

239-42. An agreement to share information, on its own, “is not illegal per se, but can be

found unlawful under a rule of reason analysis,” Todd, 275 F.3d at 198; accordingly,

Plaintiffs challenge the information-sharing agreement under the rule of reason, Compl.

¶¶ 239-42. Plaintiffs challenge the price-fixing agreement under the per se rule or,


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alternatively, the rule of reason. Id. ¶¶ 232-34. Although Defendants’ motion makes the

same arguments as to why both claims purportedly fail to plead concerted action, see

Mot. at 11-33, the claims are “analytically distinct,” Todd, 275 F.3d at 198, and thus

require separate consideration. And, as relevant to this Statement, Defendants provide an

incomplete picture of the legal framework applicable to the concerted-action element of

Plaintiffs’ standalone information-sharing claim.1

       1. Congress defined concerted action broadly because it “deprives the

marketplace of . . . independent centers of decisionmaking” and thus “inherently is

fraught with anticompetitive risk.” Copperweld Corp. v. Indep. Tube Corp., 467 U.S.

752, 768-69 (1984). “The key,” therefore, is whether the challenged conduct “joins

together separate decisionmakers”—that is, “separate economic actors pursuing separate

economic interests.” Am. Needle, 560 U.S. at 195 (citation omitted).



1
  Defendants assert that, in separate litigation challenging a merger between two sugar
refiners (U.S. Sugar and Imperial), “DOJ specifically eschewed alleging that the Wistisen
communications amounted to an agreement to fix prices.” Mot. at 4. But the
government simply said that, to prove that the merger violated Section 7 of the Clayton
Act, it “d[id]n’t need to prove that there has been a Section 1 violation.” Id. at 4 n.3.
And it would be “erroneous to conclude” that the government’s declining to bring a
Section 1 claim “equate[d] to a determination” that the conduct “d[id] not run afoul of the
Sherman Act.” In re Lipitor Antitrust Litig., 868 F.3d 231, 263 (3d Cir. 2017).
Defendants also assert that the district court in the merger case “implicitly found that the
allegations of an anticompetitive information exchange were without merit.” Mot. at 4
(citing United States v. U.S. Sugar Corp., No. 21-1644, 2022 WL 4544025, at *25-27
(D. Del. Sept. 28, 2022)). But the Third Circuit overturned the portion of the opinion on
which Defendants rely. See United States v. U.S. Sugar Corp., 73 F.4th 197, 207-08
(3d Cir. 2023). In any event, the district court said nothing, implicitly or otherwise, about
information exchanges—and, in fact, explained that it was “not reach[ing]” the question
“whether the Government has shown that the effects of the acquisition are likely to be
anticompetitive.” U.S. Sugar, 2022 WL 4544025, at *25.
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       Concerted action comes in an array of shapes and sizes. Section 1 applies not only

to easily recognizable agreements such as “contract[s]” and “trust[s],” but also to

“conspirac[ies]” and “combination[s].” 15 U.S.C. § 1. In particular, courts have applied

the latter term capaciously to encompass, among other things, “express or implied

agreement[s] or understanding[s] that the participants will jointly give up their trade

freedom.” E. R.R. Presidents Conf. v. Noerr Motor Freight, Inc., 365 U.S. 127, 136

(1961) (emphasis added); see United States v. Am. Tobacco Co., 221 U.S. 106, 187

(1911); N. Sec. Co. v. United States, 193 U.S. 197, 326-27 (1904).

       As this definition of “combination” confirms, “[n]o formal agreement” is

necessary to establish concerted action. Am. Tobacco Co. v. United States, 328 U.S. 781,

809 (1946); see Container Corp., 393 U.S. at 337 (condemning a “somewhat casual”

agreement). Tacit agreements—that is, agreements established “only” by “the

conspirators’ actions,” White v. R.M. Packer Co., 635 F.3d 571, 576 (1st Cir. 2011)—

qualify.2 See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 553 (2007); Park Irmat Drug

Corp. v. Express Scripts Holding Co., 911 F.3d 505, 516 (8th Cir. 2018). These

agreements may take the form of a “wink and a nod,” Kleen Prods. LLC v. Georgia-Pac.

LLC, 910 F.3d 927, 936 (7th Cir. 2018), or a “gentlemen’s agreement or understanding,”

Socony-Vacuum, 310 U.S. at 179, 252; see United States v. Misle Bus & Equip. Co., 967

F.2d 1227, 1231 (8th Cir. 1992) (upholding Section 1 convictions based on “mutual


2
 Tacit agreements are distinct from conscious parallelism (sometimes called “tacit
collusion”), a type of interdependent action in oligopolistic markets that does not qualify
as concerted action. See Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509
U.S. 209, 227 (1993).
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understandings” among conspirators); cf. In re Wholesale Grocery Prods. Antitrust Litig.,

752 F.3d 728, 734 (8th Cir. 2014) (“[M]ost would-be monopolists probably can be

expected to . . . seal[] their true anticompetitive agreement with a knowing nod and

wink.”).

       2. Just as concerted action can take on many forms, plaintiffs can follow a number

of paths to establish concerted action. While the Eighth Circuit has, on occasion,

assessed whether plaintiffs satisfied the concerted-action requirement by identifying

parallel conduct and so-called “plus factors,” see Park Irmat, 911 F.3d at 516-17;

Blomkest Fertilizer, Inc. v. Potash Corp. of Saskatchewan, 203 F.3d 1028, 1032-33

(8th Cir. 2000) (en banc), that is not the only way to show concerted action.

       Another way is to identify an invitation proposing collective action followed by

conduct manifesting acceptance of the invitation. See Interstate Circuit v. United States,

306 U.S. 208, 226 (1939). In Interstate Circuit, a manager of movie-theater companies

sent identical letters to eight film distributors; each letter identified all the distributors as

addressees and asked them to impose restrictions on secondary runs of films (which, in

large part, they did). Id. at 215-18. Although the Supreme Court first inferred an

agreement among the distributors based on what today might be labeled plus factors, this

conclusion “was not a prerequisite to an unlawful conspiracy.” Id. at 226. Even “without

[a] previous agreement,” the Court explained, “[i]t was enough that, knowing that

concerted action was contemplated and invited, the distributors gave their adherence to




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the scheme and participated in it.” Id. at 226-27; see FTC v. Cement Inst., 333 U.S. 683,

716 n.17 (1948); United States v. U.S. Gypsum Co., 333 U.S. 364, 393-94 (1948).3

       The Supreme Court applied the same approach in United States v. Masonite Corp.,

316 U.S. 265 (1942). There, the Court found a “combination” where multiple

competitors entered “identical agreements” with a manufacturer and “became aware” of

each other’s agreements. Id. at 269, 275. Under these cases, “[i]t is enough that a

concert of action is contemplated and that the defendants conformed to the arrangement.”

United States v. Paramount Pictures, Inc., 334 U.S. 131, 142 (1948).4


3
  See also Rosebrough Monument Co. v. Mem’l Park Cemetery Ass’n, 666 F.2d 1130,
1140 (8th Cir. 1981) (“When the circumstantial evidence leads to the conclusion that
concerted or collaborative action has been contemplated and undertaken by competitors
with the purpose and effect of eliminating competition among themselves or from others,
a Sherman Act violation has been committed.” (citing, e.g., Interstate Circuit, 306 U.S. at
227)); cf. Impro Prods., Inc. v. Herrick, 715 F.2d 1267, 1279-80 (8th Cir. 1983)
(applying a test that infers concerted action where “there is an overall-unlawful plan or
‘common design,’” “knowledge that others must be involved is inferable to each
member,” and “each alleged member[] participat[ed]” in the plan (citation omitted)).
4
 Other circuit and district courts, too, have held that parties alleged or proved concerted
action where firms engaged in conduct manifesting acceptance of an invitation to act
collectively. See PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824, 843 (9th Cir.
2022); Toys “R” Us, Inc. v. FTC, 221 F.3d 928, 935-36 (7th Cir. 2000); United States v.
Foley, 598 F.2d 1323, 1331-32 (4th Cir. 1979); In re Multiplan Health Ins. Provider
Litig., No. 1:24-cv-06795, 2025 WL 1567835, at *18-19 (N.D. Ill. June 3, 2025); Duffy v.
Yardi Sys., Inc., 758 F. Supp. 3d 1283, 1291-92 (W.D. Wash. 2024). A court in this
district recently held that evidence of “invitation and acceptance of an anticompetitive
plan” was not sufficient to establish concerted action absent “corresponding evidence of
parallel conduct”; however, the court acknowledged that “[t]he Eighth Circuit seems to
have given some credence” to the invitation-and-acceptance theory and recognized that
“[d]eveloping caselaw also support[ed]” the theory. In re Pork Antitrust Litig., No. 18-
1776, 2025 WL 1224694, at *14-16 (D. Minn. Apr. 28, 2025) (citing Impro Prods., 715
F.2d at 1279; Duffy, 758 F. Supp. 3d at 1288-93; In re RealPage, Inc., Rental Software
Antitrust Litig. (No. II), 709 F. Supp. 3d 478, 507-08 (M.D. Tenn. 2023)); see supra at
11 n.3.
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       3. Plaintiffs’ information-sharing claim pleads concerted action. Plaintiffs may

allege an agreement directly, through “circumstantial” facts from which an agreement can

be “infer[red],” or both. Twombly, 550 U.S. at 553 (citation omitted); see Robertson v.

Sea Pines Real Estate Cos., 679 F.3d 278, 289 (4th Cir. 2012); Rosebrough Monument

Co. v. Mem’l Park Cemetery Ass’n, 666 F.2d 1130, 1139-40 (8th Cir. 1981). Without

excluding the possibility that Plaintiffs have satisfied the concerted-action requirement in

multiple ways, they have, at least, pleaded an agreement for their information-sharing

claim under the theory approved in Interstate Circuit.5 See Pls.’ Mem. of Law in Opp. to

Defs.’ Joint Mot. to Dismiss Pls.’ Master Consolidated and Short Form Compls. at 44,

Doc. 403 (arguing that information-exchange claim pleads concerted action because it

alleges “the intentional reciprocal exchange of competitively sensitive information”).

       According to the complaint, Wistisen requested information about pricing and

output from sugar producers/sellers and provided them with similar information about

their competitors. E.g., Compl. ¶¶ 87-88, 92, 95-97, 99-103, 106, 112, 114, 116. The

alleged information exchangers thus mutually understood that, once they provided their

information, Wistisen “would in turn share it” with their rivals, id. ¶ 78; see id. ¶¶ 80,

88—that is, they “kn[e]w[] that concerted action was contemplated and invited,”

Interstate Circuit, 306 U.S. at 226. By nonetheless submitting the requested data and

accepting corresponding data about competitors, e.g., Compl. ¶¶ 87, 92-104, 106-07, 109-

10, 112-17, the producers/sellers allegedly “gave their adherence to” the information-


5
 This Statement does not address whether Plaintiffs have pleaded concerted action under
any alternative theories.
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sharing “scheme and participated in it,” Interstate Circuit, 306 U.S. at 226. That is

“enough,” id., to plead concerted action. Put differently, when a party “furnishe[s]”

requested data to competitors “with the expectation that it would be furnished reciprocal

information when it wanted it,” that “is of course sufficient to establish [a] combination

or conspiracy” under Section 1. Container Corp., 393 U.S. at 335.

       4. Defendants’ motion to dismiss appears to proceed from the premise that the

only way to prove concerted action through circumstantial evidence is by alleging

parallel conduct and plus factors, see Mot. at 11-33, though it is unclear whether

Defendants (1) are arguing this approach is required as a matter of law or (2) are simply

responding to the complaint’s allegations of parallel conduct and plus factors. To the

extent they are arguing the former, they are incorrect. Interstate Circuit makes clear that,

regardless of whether an agreement can be inferred under a plus-factors-style analysis, a

distinct theory of concerted action is available when parties manifest acceptance of an

invitation for collective action. 306 U.S. at 226; see supra at 10-11.

       In particular, Defendants appear to put significant weight on the complaint’s

purported failure “to allege that all of the [Producer] Defendants engaged in parallel

conduct with respect to sharing information” with Wistisen. Mot. at 21 (emphasis in

original). But that is just one approach to pleading concerted action: Plaintiffs may do so

by identifying “parallel conduct” supplemented by a factual “context” suggesting that the

conduct resulted from “a preceding agreement,” rather than from “independent” decision-

making. Twombly, 550 U.S. at 557. But in some circumstances, this approach makes

little or no sense because plaintiffs rely not on distinct, parallel acts by each conspirator,

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but instead on collective actions that the conspirators undertook together, such as

participating in a joint association or exchanging information with each other. See Am.

Needle, 560 U.S. at 196-97; Container Corp., 393 U.S. at 335; Am. Linseed, 262 U.S. at

380-86; Am. Column, 257 U.S. at 391-95.

       Here, for example, the complaint identifies reciprocal information exchanges

between competitors. See supra at 3-4. Plaintiffs thus had no need to allege “parallel

conduct” that resulted from “a preceding agreement,” Twombly, 550 U.S. at 557, because

the alleged reciprocal exchanges themselves reflect an agreement. See Container Corp.,

393 U.S. at 335 (Requesting information and “furnish[ing]” it “with the expectation” of

receiving “reciprocal information” was “concerted action.”); see also Interstate Circuit,

306 U.S. at 227 (“Acceptance” of “an invitation” is “sufficient” even “without [a]

previous agreement[.]”).6

       Moreover, Defendants state that “Plaintiffs have not alleged a single interfirm

communication between any [Producer] Defendants.” Mot. at 23. But Interstate Circuit

contains no requirement that, to engage in concerted action by accepting an invitation for

collective action, the invitation’s recipients must directly communicate with one another.



6
 Defendants’ argument about the purported lack of allegations as to “all” Producer
Defendants, Mot. at 21, fails for an additional reason. It conflates two distinct inquiries:
(1) whether the complaint alleges concerted action (which depends on whether the
conduct “joins together separate decisionmakers,” Am. Needle, 560 U.S. at 195), and
(2) whether the complaint alleges that each of the named defendants is liable for that
concerted action. Even if the complaint fails to show that some of the Defendants
participated in the information exchange, that would not mean that the information-
exchange claim lacks allegations of concerted action—and thus would not justify
wholesale dismissal of that claim.
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306 U.S. at 214-19, 226-27. Masonite likewise found concerted action even though each

recipient “had no discussions with any of the others.” 316 U.S. at 275. Instead, the

conspirators’ “aware[ness]” that the same invitation had been extended to others, coupled

with “[a]cceptance” of that invitation, was sufficient. Id.; Interstate Circuit, 306 U.S. at

227.

       Defendants’ argument thus is incorrect to the extent it suggests that only direct

“interfirm communications” can support a plausible inference of concerted action

(Mot. at 23). Such a conclusion would be at odds with foundational Supreme Court

information-sharing decisions, which held intermediary-facilitated exchanges unlawful.

See Am. Linseed, 262 U.S. at 380-86, 389-90; Am. Column, 257 U.S. at 391, 394-97, 409-

12. It would be equally at odds with the black-letter principle that “competitors cannot

simply get around antitrust liability by acting through a third-party intermediary or joint

venture.” Am. Needle, 560 U.S. at 202 (internal quotation marks omitted) (quoting Major

League Baseball Props., Inc. v. Salvino, Inc., 542 F.3d 290, 335 (2d Cir. 2008)

(Sotomayor, J., concurring in the judgment)).

       Defendants’ arguments also appear to go too far in another respect. Defendants

fault Plaintiffs for failing to “allege that the [Producer] Defendants began using

Mr. Wistisen’s services around the same time or in the same way.” Mot. at 21. But “[i]t

is elementary that an unlawful conspiracy may be and often is formed without

simultaneous action or agreement on the part of the conspirators.” Interstate Circuit, 306

U.S. at 227. In Masonite, for example, the manufacturer entered into agreements with its



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co-conspirators “on various dates” between October 1933 and June 1934. 316 U.S. at

268-70.

       Finally, Defendants point to the exchanges’ purportedly “infrequent nature” and

suggest that the information shared was not sufficiently specific or sensitive to justify “a

plausible inference of conspiracy.” Mot. at 24. But the alleged infrequency is not

dispositive of the concerted-action inquiry.7 In Container Corp., the Supreme Court

found an agreement “to furnish price information whenever requested” despite the

“infrequency and irregularity of [the] price exchanges.” 393 U.S. at 335. Nor did the

“sometimes fragmentary” nature of the information exchanged—or the information’s

“availab[ility]” through sources other than the exchange—undermine the Court’s finding

of “concerted action.” Id. at 335-36.

       Indeed, although Defendants assert that the Department of Agriculture publicly

reports sugar spot prices, see Mot. at 7 & n.7, the Supreme Court long ago found an

intermediary-facilitated information exchange unlawful despite the defendants’ objection

that the shared information was “the equivalent” of material already available in

“government publications.” Am. Column, 257 U.S. at 411. The Court explained that,


7
  The purported infrequency may be relevant to whether Plaintiffs pleaded
anticompetitive effects of the alleged information-exchange agreement (the second
element of their standalone information-exchange claim, see supra at 7). See Todd, 275
F.3d at 213 (considering “frequency” of meetings among information exchangers in
assessing exchanges’ competitive effects). The purported infrequency may also bear on
whether the alleged information exchanges can be used to infer a price-fixing agreement.
See In re Pre-Filled Propane Tank Antitrust Litig., 860 F.3d 1059, 1069 (8th Cir. 2017)
(complaint pleaded “price-fixing conspiracy” based on, inter alia, “dozens of calls,
emails, and in-person meetings” among defendants). This Statement takes no position on
these issues.
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despite “the published reports,” the private data exchanges posed special risks because

customers were not privy to those exchanges and because the intermediary was able to

promote “harmony of action.” Id. Plaintiffs allege that the information sharing in this

case presented similar risks: Commodity purportedly did not make the information

available to sugar purchasers, and the conspirators allegedly used their exchanges to

“ensur[e] alignment” by “signal[ing] pricing intentions to their competitors.” Compl.

¶¶ 69-70, 83.

                                    CONCLUSION

      This Court should not create a heightened pleading bar for information exchanges

conducted through intermediaries.




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June 24, 2025                                Respectfully submitted,

                                             /s/ Peter M. Bozzo.

ABIGAIL A. SLATER                            DANIEL E. HAAR
Assistant Attorney General                   NICKOLAI G. LEVIN
                                             PETER M. BOZZO
ROGER P. ALFORD                              Attorneys
Principal Deputy Assistant Attorney
General                                      United States Department of Justice
                                             Antitrust Division
MARK H. HAMER                                950 Pennsylvania Avenue, NW
Deputy Assistant Attorney General            Washington, DC 20530-0001
                                             Phone: (202) 803-1196
DAVID B. LAWRENCE                            Email: peter.bozzo@usdoj.gov
Policy Director
                                             /s/ Joseph H. Thompson
                                             JOSEPH H. THOMPSON
                                             Acting United States Attorney

                                             /s/ Liles H. Repp
                                             LILES H. REPP
                                             Attorney ID No. 0400692
                                             Assistant United States Attorney
                                             600 U.S. Courthouse
                                             300 South Fourth Street
                                             Minneapolis, MN 55415
                                             Phone: (612) 664-5600
                                             Fax: (612) 664-5788
                                             Email: Liles.Repp@usdoj.gov




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